       The following case in which the Court of Appeals issued a published opinion has been
appealed to the Supreme Court:

    1. James Bethea, s/k/a
        James Willie Bethea
        v. Commonwealth of Virginia
        Record No. 2014-16-4
        Opinion rendered by Judge Decker on
        February 20, 2018
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Sue Karr, Harold H. McCall,
    James R. Webb and Carol Ann White
   v. Virginia Department of Environmental Quality and
       David K. Paylor, Director
   Record No. 1715-15-2
   Opinion rendered by Judge Humphreys
     on August 9, 2016
   Dismissed pursuant to Code § 17.1-410(A)(2) and (B)
   (161309)

2. Carroll Edward Gregg, Jr.
   v. Commonwealth of Virginia
   Record No. 0047-16-4
   Opinion rendered by Judge Chafin
    on February 28, 2017
   Judgment of Court of Appeals affirmed with instructions to remand this case to the trial
     court to allow the Commonwealth to elect between the sentences for common law
     involuntary manslaughter and involuntary manslaughter under Code § 18.2-154 by
     opinion rendered on April 5, 2018
   (170586)

3. Tina Marie Bryant
   v. Commonwealth of Virginia
   Record No. 0922-16-3
   Opinion rendered by Judge Decker
     on April 25, 2017
   Judgment of Court of Appeals affirmed by opinion rendered on April 5, 2018
   (170712)

4. Justo Mazariegos Campos
    v. Commonwealth of Virginia
   Record No. 0617-16-2
    Opinion rendered by Chief Judge Huff
     on June 13, 2017
    Refused (170942)
